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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

 BRIANNA BOE, et al.,

       Plaintiffs,

              v.
                                                   No. 2:22-cv-00184-LCB-CWB
 STEVE MARSHALL, et al.,

       Defendants.



   JOINT MOTION OF NONPARTIES AMERICAN ACADEMY OF
    PEDIATRICS, WORLD PROFESSIONAL ASSOCIATION FOR
 TRANSGENDER HEALTH, AND ENDOCRINE SOCIETY TO REDACT
               PORTIONS OF DECLARATIONS

      Nonparties American Academy of Pediatrics (“AAP”), World Professional

Association for Transgender Health (“WPATH”), and Endocrine Society

(collectively, “amici”) respectfully move this Court for leave to redact, for

purposes of the public record, small portions of three declarations filed in

conjunction with amici’s joint Motion to Quash. The requested redactions are

limited in scope and pertain solely to the declarants’ personal information,

including their names and job titles. Amici respectfully submit that the Court

should grant this motion to protect the declarants’ identities and privacy in light of

the charged nature of the underlying litigation’s subject matter, the intimidation
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and harassment amici and their employees have confronted, and the heightened

risk that declarants will face such harassment if their identities are made public.

I.    BACKGROUND

      Plaintiffs filed the above-captioned lawsuit challenging the constitutionality

of the Alabama Vulnerable Child Compassion and Protection Act. (Doc. 1). AAP,

WPATH, and Endocrine Society are among the 23 national and state professional

medical and mental health organizations that submitted an amici brief in support of

Plaintiff’s motion for temporary restraining order and preliminary injunction.

Defendant the State of Alabama has issued document subpoenas to all three

organizations. After attempts to negotiate the scope of the subpoenas proved

fruitless, amici jointly filed a Motion to Quash (the “Motion”) all three subpoenas.

      The Motion seeks to quash the subpoenas on the grounds that they seek

irrelevant information, impose undue burdens on amici, and infringe upon amici’s

associational rights under the First Amendment. Specifically with respect to the

latter argument, the Motion establishes that all three amici and their employees

have been subjected to harassment and threats of violence in connection with their

work and support for gender-affirming care. Recent news reports have highlighted

such threats, noting that some health organizations have asked the Department of

Justice to investigate recent threats of violence after at least one hospital “was

forced into lockdown … after an anonymous bomb threat” and that “other
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hospitals across the county have faced similar threats, reporting that they have

received harassing emails, phone calls and protest that have elevated fears among

staff, young transgender patients and their families.”1

       The Motion to Quash is supported by declarations submitted by members of

each organization. Given the publicity their submissions is likely to attract and the

environment described above, amici respectfully move this Court for leave to

redact from their respective declarations limited personal identifying information

about each declarant, which if released would make those individuals known to the

public and heighten the risk that each declarant would be subject to harassment and

even violence.

II.    ARGUMENT

       Amici should be granted leave to redact limited information in their

respective declarations because the public’s rights of access to pretrial materials—

whether under common law or the First Amendment—do not attach to the

personally identifying information in these declarations. Additionally, in the event

that the Court finds that a public right of access does attach, amici should

nevertheless be granted leave because they can demonstrate “good cause” to seal

such information.

1
 See Brooke Migdon, Medical Groups Call on DOJ to Investigate Threats
Targeting Gender-Affirming Care, The Hill (Oct. 3, 2022),
https://thehill.com/changing-america/respect/equality/3672270-medical-groups-
call-on-doj-to-investigate-threats-targeting-gender-affirming-care/.
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      A.     Amici’s Declarations Are Not Subject to the Public’s Right of
             Access to Pretrial Materials.

      The common-law right of access to pretrial documents is “an essential

component of our system of justice.” Chi. Trib. Co. v. Bridgestone/Firestone, Inc.,

263 F.3d 1304, 1311 (11th Cir. 2001). This right, however, is limited to materials

filed in conjunction “with any substantive pretrial motion, unrelated to discovery,”

that invokes a court’s power to resolve cases on the merits. Romero v. Drummond

Co., Inc., 480 F.3d 1234, 1245 (11th Cir. 2007); see also Bridgestone/Firestone,

263 F.3d at 1304, 1312–13 (“[D]ocuments filed in connection with motions to

compel discovery are not subject to the common-law right of access.”). This Court

has squarely held that “[m]aterial filed with discovery motions is not subject to the

common-law right of access.” Garrity v. Hyundai Info. Sys. N.A., LLC, 2012 WL

5679896, at *1 (M.D. Ala. Nov. 15, 2012).

      The First Amendment also guarantees a public right of access to court

documents, but this right is typically invoked in criminal trial proceedings and has

limited application in civil cases. See Bridgestone/Firestone, 263 F.3d at 1310.

The Eleventh Circuit has extended the right to materials related to the release,

incarceration, or confinement conditions of prisoners, but has otherwise held that

“[m]aterials gathered as a result of the civil discovery process” do not fall within

the scope of the First Amendment right of access. See id.
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      Here, amici’s declarations are outside the scope of the public rights of access

under both the common law and the First Amendment because they were filed in

conjunction with a discovery motion. Amici’s Motion to Quash does not, even

tangentially, invoke this Court’s power to resolve the dispute on the merits and is

firmly within a category of motion practice that this Court has specifically

excluded from the common law right of access. See Garrity, 2012 WL 5679896, at

*1. AAP, WPATH, and Endocrine Society are not parties to the underlying

litigation and submitted the declarations in response to a nonparty subpoena, a

process that is further attenuated from the merits of the case than the typical “civil

discovery process.” As such, the First Amendment right of access is likewise

inapplicable to the declarations and the Court should grant leave to redact the

limited personal and identifying information in the declarations.

      B.     Amici Can Show Good Cause To Overcome Any Public Right of
             Access to the Declarations.

      Even if they were applicable here—and they are not—both the common law

and First Amendment public rights of access may be overcome by a showing of

“good cause.” Garrity, 2012 WL 5679896, at *1; In re Estate of Martin Luther

King, Jr., Inc. v. CBS, Inc., 185 F. Supp. 2d 1353, 1365–67 (N.D. Ga. 2002). Good

cause is determined by balancing the interest in obtaining access to the information

at issue against the interest in keeping such information confidential. Garrity,

2012 WL 5679896, at *1 (citing Bridgestone/Firestone, 263 F.2d at 1304). Factors
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relevant to this inquiry include (1) whether access would impair court functions;

(2) whether access would harm legitimate privacy interests; (3) the degree and

likelihood of injury if made public; (4) the reliability of the information; (5)

whether the information concerns public officials or public concerns; and (6) the

availability of a less onerous alternative to sealing the documents. Romero, 480

F.3d at 1246.

        These factors weigh in favor of permitting the limited redactions sought by

amici. Amici seek limited redactions of a few lines of each declaration that do not

bear on the substance or reliability of their respective declarations. These few lines

reveal personal and identifying information of the declarants, which do not

implicate public concerns. Whatever limited interest the public may have in

knowing the identity of each declarant is outweighed by the declarants’ privacy

and safety concerns, particularly in light of the threats and intimidation already

directed against amici and their members. The lone feasible alternative to avoiding

the risk to amici’s declarants is to forego submission of the declarations outright.

As such, there is good cause for limited redactions to the declarations.

III.    CONCLUSION

        Nonparties AAP, WPATH, and Endocrine Society respectfully request that

the Court grant this request to redact personal and identifying information found in

the declarations filed by AAP, WPATH, and Endocrine Society in conjunction
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with amici’s joint Motion to Quash. Specifically, this request implicates names,

job titles, and dates found in: (1) lines 1–7 and the signature block from the

declaration filed by AAP; (2) lines 1–6 and the signature block from the

declaration filed by WPATH; and (3) lines 1–5 and the signature block from the

declaration filed by Endocrine Society.
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Dated: December 27, 2022                Respectfully submitted,

                                        /s Barry A. Ragsdale
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                          CERTIFICATE OF SERVICE

      I hereby certify that on December 27, 2022, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will send notification

of such filing to counsel of record.




                                             /s Barry A. Ragsdale
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